Case 1:01-cv-12257-PBS Document 6530-15 Filed 09/22/09 Page 1 of 7




             EXHIBIT 14
Case 1:01-cv-12257-PBS Document 6530-15 Filed 09/22/09 Page 2 of 7
Case 1:01-cv-12257-PBS Document 6530-15 Filed 09/22/09 Page 3 of 7
Case 1:01-cv-12257-PBS Document 6530-15 Filed 09/22/09 Page 4 of 7
Case 1:01-cv-12257-PBS Document 6530-15 Filed 09/22/09 Page 5 of 7
Case 1:01-cv-12257-PBS Document 6530-15 Filed 09/22/09 Page 6 of 7
Case 1:01-cv-12257-PBS Document 6530-15 Filed 09/22/09 Page 7 of 7
